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Attorneys for Anne Elizabeth Burns, Chapter 7 Trustee

                IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
_____________________________________
In Re:                                §
                                      §    Case No. 19-33545-sgj7
HOACTZIN PARTNERS, L.P.,              §
                                      §    Hearing Date: October 14, 2021
            Debtor.                   §    Hearing Time: 9:30 A.M.
____________________________________ §

                                  FEE APPLICATION COVER SHEET

Sixth Interim Application for Compensation of Petrostream, L.P. as Consultants for Trustee
For the time of May 1, 2021 through August 31, 2021
Capacity: Consultants for Trustee                         Chapter: 7
Debtor: Hoactzin Partners, L.P.                           Case No.: 19-33545
Retainer Received: $0.00                                  Amount Previously Paid: $306,712.48
Amount Requested:                                         Reductions:
Fees:             $145,478.14                             Vol. Fee Reductions:          $0.00
Expenses:         $3,861.34                               Expense Reductions:           $0.00
Other:            $0.00                                   Total Reductions:             $0.00
Total:            $149,339.48

/s/ Emily S. Wall                                            September 22, 2021
Emily Wall                                                   Date
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Attorneys for Anne Elizabeth Burns, Chapter 7 Trustee

                IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
_____________________________________
In Re:                                §
                                      §    Case No. 19-33545-sgj7
HOACTZIN PARTNERS, L.P.,              §
                                      §    Hearing Date: October 14, 2021
            Debtor.                   §    Hearing Time: 9:30 A.M.
____________________________________ §

AMENDED SIXTH INTERIM APPLICATION FOR COMPENSATION OF
    PETROSTREAM, L.P. AS CONSULTANTS FOR TRUSTEE

A HEARING ON THIS AMENDED APPLICATION IS SCHEDULED TO BE HELD
BEFORE THE HONORABLE BANKRUPTCY JUDGE, STACEY G. C. JERNIGAN, ON
OCTOBER 14, 2021 AT 9:30 A.M., AT 1100 COMMERCE STREET, 14TH FLOOR,
COURTROOM #1, DALLAS, TX 75242 OR VIA WEBEX VIDEOCONFERENCE,
WHICH IS AT LEAST TWENTY-ONE (21) DAYS OR MORE FROM THE DATE OF
SERVICE HEREOF.

THE WEBEX HEARING LINK MAY BE ACCESSED HERE:

                                https://us-courts.webex.com/meet/jerniga

ANY RESPONSE OR OBJECTION TO THE AMENDED APPLICATION MUST BE IN
WRITING AND FILED WITH THE CLERK OF THE UNITED STATES
BANKRUPTCY COURT AT 1100 COMMERCE STREET, ROOM 1254, DALLAS, TX
75242-1496 AND A COPY MUST BE SERVED UPON APPLICANT ON OR BEFORE
OCTOBER 13, 2021 WHICH DATE IS AFTER THE EXPIRATION OF 21 DAYS FROM
THE DATE OF SERVICE HEREOF. IF NO OBJECTION OR RESPONSE IS TIMELY
FILED, THE APPLICATION MAY BE DEEMED TO BE UNOPPOSED, AND THE
COURT MAY ENTER AN ORDER GRANTING THE APPLICATION WITHOUT A

Amended Sixth Interim Application for Compensation of
Petrostream, L.P. as Consultants for Trustee                                          Page 2 of 7
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HEARING. IF AN OBJECTION OR RESPONSE IS TIMELY FILED AND THE
HEARING DATE RESCHEDULED, NOTICE OF THE RESCHEDULED HEARING
DATE AND TIME MAY ONLY BE GIVEN TO THOSE PARTIES FILING A WRITTEN
OBJECTION OR RESPONSE TO THE APPLICATION.

        Petrostream, L.P. (“Petrostream”), consultants for the Trustee in this bankruptcy case,

files its Amended Sixth Interim Application for Compensation (the “Application”) for the period

from May 1, 2021 through August 31, 2021 (the “Interim Application Period”).

                                 JURISDICTION AND VENUE

        1.     This Court has jurisdiction over this matter under 28 U.S.C. §§ 1334 and 157(a);

11 U.S.C. §§ 330 and 331, and the standing order of reference. This is a “core” proceeding

under 28 U.S.C. §157(b)(2)(A).

             PROCEDURAL STATUS & FACTS RELEVANT TO APPLICATION

        2.     Hoactzin Partners, LP filed a voluntary chapter 11 bankruptcy petition on October

26, 2019. The case was converted to chapter 7 on February 12, 2020, and Anne Elizabeth Burns

was appointed as chapter 7 trustee (the “Trustee”).

        3.     Hoactzin is the operator and majority working interest owner on four non-

producing leases in the Gulf of Mexico. The leases have various wells, platforms, and pipelines

on them, all of which needed to be plugged, abandoned, and/or decommissioned at the time of

conversion.

        4.     Shortly after her appointment, the Trustee started the process of soliciting bids

from qualified contractors to perform the necessary decommissioning.           As that process

progressed, the Trustee realized the need for an expert to assist her in soliciting appropriate

turnkey bids for the multi-million-dollar project and to oversee the actual decommissioning

work.



Amended Sixth Interim Application for Compensation of
Petrostream, L.P. as Consultants for Trustee                                          Page 3 of 7
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       5.      On May 1, 2020, the Trustee filed her Application to Employ Petrostream, L.P. as

Consultants for the Trustee [Docket No. 140]. On June 19, 2020, the Order Granting Application

to Employ Petrostream, L.P. [Docket No. 179] was entered by the Court approving the

Applicant’s employment.

                                  PREVIOUS APPLICATIONS

       10.     On July 20, 2020, Petrostream filed its First Interim Application for

Compensation of Petrostream, L.P. as Consultants for Trustee [Docket No. 200] seeking

compensation and expenses of $47,977.50.

       11.     On August 19, 2020, the Order Approving First Interim Application for

Compensation of Petrostream, L.P. as Consultant for Trustee [Docket No. 246] was entered by

the Court.

       12.     On September 11, 2020, Petrostream filed its Second Interim Application for

Compensation of Petrostream, L.P. as Consultants for Trustee [Docket No. 256] seeking

compensation and expenses of $30,437.50.

       13.     On October 19, 2020, the Order Approving Second Interim Application for

Compensation of Petrostream, L.P. as Consultant for Trustee [Docket No. 264] was entered by

the Court.

       14.     On November 16, 2020, Petrostream filed its Amended Third Interim

Application for Compensation of Petrostream, L.P. as Consultants for Trustee [Docket No.

267] seeking compensation and expenses of $35,708.37.

       15.     On December 11, 2020, the Order Approving Amended Third Interim

Application for Compensation of Petrostream, L.P. as Consultant for Trustee [Docket No.

278] was entered by the Court.


Amended Sixth Interim Application for Compensation of
Petrostream, L.P. as Consultants for Trustee                                          Page 4 of 7
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       16.     On March 1, 2021, Petrostream filed its Fourth Interim Application for

Compensation of Petrostream, L.P. as Consultants for Trustee [Docket No. 294] seeking

compensation and expenses of $59,169.29.

       17.     On March 29, 2021, the Order Approving Fourth Interim Application for

Compensation of Petrostream, L.P. as Consultant for Trustee [Docket No. 301] was entered by

the Court.

       18.     On May 21, 2021, Petrostream filed its Fifth Interim Application for

Compensation of Petrostream, L.P. as Consultants for Trustee [Docket No. 310] seeking

compensation and expenses of $133,419.82.

       19.     On July 1, 2021, the Order Approving Fifth Interim Application for

Compensation of Petrostream, L.P. as Consultant for Trustee [Docket No. 315] was entered by

the Court.

       20.     As of the date of filing this Sixth Interim Application the Trustee has fully paid the

fees and expenses awarded in the First, Second, Third, Fourth and Fifth Interim Applications.

                               SIXTH INTERIM APPLICATION

        21.    During this Interim Application Period, Petrostream has continued to consult with

and advise the Trustee and her other professionals regarding all technical and regulatory aspects

of the decommissioning of Hoactzin’s wells, platforms, and pipelines in the Gulf of Mexico.

       22.     Petrostream spent significant time during this Interim Application Period

overseeing the Morrison team’s ongoing decommissioning work pursuant to the terms of the

contract as well as Morrison’s efforts in securing all necessary permits from the appropriate

government agencies.         Petrostream inspectors have been engaged in the ongoing

decommissioning projects offshore throughout this Interim Application Period. As of the filing


Amended Sixth Interim Application for Compensation of
Petrostream, L.P. as Consultants for Trustee                                              Page 5 of 7
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of this Interim Application, all Hoactzin structures have been removed from the Gulf of Mexico;

all Hoactzin wells are fully plugged; all Hoactzin pipelines are abandoned in place; site clearance

is complete at High Island 176A, High Island 176B, and West Delta 62; and site clearance is in

process at Ship Shoal 144 and 145.

       23.     Petrostream’s invoices for May, June, July, and August 2021 are attached hereto

as Exhibit A. Petrostream has spent a total of 1,329.25 hours in this Interim Application Period

assisting the Trustee.

       24.     Petrostream believes that the fees applied for herein are fair and reasonable in

view of the time spent, the size, complexity and extent of the operation of the estate, the risks

associated with this bankruptcy case, and the results obtained.

       Petrostream prays for the Court to enter an Order authorizing the Trustee to pay

Petrostream the sum of $149,339.48, which includes $145,478.14 for professional services and

$3,861.34 for expenses rendered during the Interim Application Period; and for such other and

further relief as may be appropriate and just.

                                       Respectfully submitted,
                                       /s/ Emily S Wall
                                       Emily S Wall
                                       State Bar No. 24079534
                                       CAVAZOS HENDRICKS POIROT, P.C.
                                       Suite 570, Founders Square
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                                       Attorneys for Anne Elizabeth Burns, Chapter 7 Trustee




Amended Sixth Interim Application for Compensation of
Petrostream, L.P. as Consultants for Trustee                                             Page 6 of 7
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                                       and

                                       /s/ Drew Hunger
                                       Drew Hunger
                                       Petrostream, L.P.


                            CERTIFICATION BY TRUSTEE
       I, Anne Elizabeth Burns, the Chapter 7 Trustee in this case, hereby certify that I have
read and approved this Amended Sixth Interim Application for fees and expenses.

       Dated: September 22, 2021.

                                       /s/ Anne Elizabeth Burns
                                       Anne Elizabeth Burns, Trustee


                              CERTIFICATE OF SERVICE
         I certify that a true and correct copy of the foregoing amended Application was served on
September 22, 2021 by electronic transmission through the Court’s automated Case Management
and Electronic Docketing System for the U. S. Bankruptcy Court for the Northern District of
Texas, on all parties-in-interest submitting to service of papers in this case by said means and via
first class mail, postage prepaid on the following parties:

 U. S. Trustee                                          Honorable Bankruptcy Judge
 1100 Commerce St., Room 976                            Stacey G.C. Jernigan
 Dallas, TX 75242-1496                                  Attn: Law Clerk
                                                        Earle Cabell Federal Building
                                                        1100 Commerce Street, 14th Floor
                                                        Dallas, Texas 75242

 Anne Elizabeth Burns                                   Hudson M. Jobe
 900 Jackson Street, Suite 570                          Timothy Andrew York
 Dallas, TX 75202                                       QSLWM, P.C.
                                                        2001 Bryan Street, Suite 1800
                                                        Dallas, TX 75201

                                       /s/ Emily S. Wall
                                       Emily S. Wall




Amended Sixth Interim Application for Compensation of
Petrostream, L.P. as Consultants for Trustee                                               Page 7 of 7
